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                                                                       (SPACE BELOW FOR FILING STAMP ONLY)



       CAROLYN A. DYE
 1     15030 Ventura Blvd., Suite 527
 2     Sherman Oaks, CA 91403
       Telephone: (818) 287-7003
 3     Facsimile: (323) 987-5763
       Email: trustee@cadye.com
 4
       Chapter 7 Trustee
 5

 6

 7
                                   UNITED STATES BANKRUPTCY COURT
 8
                      CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
 9

10

11
        In re                                            Case No.: 2:24-bk-11660-DS
12
                                                         Chapter 7
13      KEITH WONKI BAE
                                                         APPLICATION BY CHAPTER 7 TRUSTEE TO
14                                                       EMPLOY MIRMAN, BUBMAN & NAHMIAS AS
                                         Debtor.         SPECIAL COUNSEL; DECLARATION OF
15                                                       MICHAEL E. BUBMAN IN SUPPORT THEREOF

16                                                       [No Hearing Required]

17

18

19     TO THE HONORABLE DEBORAH J. SALTZMAN, UNITED STATES BANKRUPTCY JUDGE,
20     OFFICE OF THE UNITED STATES TRUSTEE, AND ALL PARTIES IN INTEREST:
21                Applicant, CAROLYN A. DYE, the duly-appointed, qualified, and acting Chapter 7 Trustee
22     (“Trustee” and/or “Applicant”) for the Bankruptcy Estate (“Estate”) of KEITH WONKI BAE
23     (hereinafter “Debtor”), hereby applies to this Court, in accordance with the provisions of 11 U.S.C. §§
24     327(a), and 328(a), for entry of an Order authorizing her to employ MIRMAN, BUBMAN &
25     NAHMIAS (“MBN”) as her special litigation counsel in this matter, effective May 27, 2024. MBN
26     will seek to be compensated pursuant to the provisions of 11 U.S.C. §§ 330 and 331.
27     ///
28     ///

                                                     1
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 1

 2     I.         INTRODUCTION AND STATEMENT OF FACTS

 3                The Trustee has obtained evidence demonstrating that the Debtor omitted material information

 4     from his bankruptcy schedules and is not being forthright in this bankruptcy proceeding, and as a result,

 5     the Trustee respectfully requests this Court allow her to retain MBN as special litigation counsel in this

 6     matter to investigate the nature, location and Debtor’s interest in, certain assets that the Trustee believes

 7     should be included among the assets of the estate, as well as to prosecute, if warranted, any objections

 8     to discharge or revocation of discharge.

 9     II.        STATEMENT OF FACTS.

10                A. Factual Background Regarding the State Court Litigation in Bobson v. Bae.

11                State Court litigation entitled Bobson v. Bae, Los Angeles Superior Court Case No. BC650612

12     (the “State Court Action”), was filed in or about February 2017. The State Court Action was filed by

13     the Debtor’s and his then business partner, Jason Bobson, pertaining to the dissolution of their

14     partnership over the operations of the restaurant known as Birdies. After the trial of the matter in

15     November 2021, and as a part of the dissolution, the parties were ordered by the court to provide

16     information pertaining to the operations and finances of Birdies. Notwithstanding numerous court

17     orders instructing the parties to provide information to a mutually acceptable accountant, Debtor Bae

18     refused to cooperate in the court-ordered process. After several unsuccessful attempts at obtaining the

19     Debtor’s cooperation, on August 17, 2022, the Los Angeles Superior Court judge appointed Receiver

20     Stephen J. Donell (“Receiver”) (the “Appointing Order”) to take control of the assets of the JK

21     Partnership (“Partnership”). As a part of the Appointing Order, the Receiver was ordered to take

22     possession of, manage and collect all proceeds from the operation of the restaurant named “Birdies,”

23     located at 314 W. Olympic Blvd. Los Angeles, CA 91401. Declaration of Michael E. Bubman

24     (“Bubman Decl.”), ¶ 3.

25                Since that time, the Debtor has continued in his refusal to cooperate with the Court regarding

26     the assets and operations of Birdies. In fact, in January 2024, the Debtor was held in contempt as a

27     result of his refusal to cooperate. Bubman Decl., ¶4. In proceedings before the Superior Court, Judge

28     Upinder Kalra has noted the lack of compliance. On March 1, 2024, Judge Kalra stated:

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 1                “The conduct by your client [the Debtor] is outrageous, continued to be outrageous. The

 2                allegations are supported by evidence. . . . I’m not blind to what’s going on. Your client, for

 3                years, has refused to comply with Court orders – willfully refused. The Court conducted a

 4                contempt hearing and made such findings . . . and Mr. Bae’s behavior is inexcusable. It’s even

 5                worse than was presented to me at the contempt hearing.”

 6     March 1, 2024 transcript, pages 6, line 10 – page 7, line 8. Bubman Decl., ¶5.

 7                On February 23, 2024, the Receiver terminated the business operations of Birdies at the 314 W.

 8     Olympic location (“314 Location”), as a result of the fact that the revenues appeared insufficient to

 9     support the ongoing operations. The Receiver subsequently learned that the Debtor was not reporting

10     cash and catering transactions that were being conducted at or from the 314 Location. By shutting

11     down the 314 Location, the Receiver was interfering with the Debtor’s ability to continue running “off

12     the books” transactions at the 314 Location. The Debtor had control of the business space immediately

13     next to the 314 Location, at 312 W. Olympic Blvd. (the “312 Location”), as that space was held under

14     a lease from the landlord to the Debtor’s father, James Bae. The Debtor immediately began preparing

15     the 312 Location to open for business, so he could continue those operations. Bubman Decl., ¶6.

16                The Debtor was scheduled for sentencing for his contempt conviction on March 1, 2024. At the

17     time of the March 1, 2024 hearing, the Debtor was simultaneously replicating Birdies in the 312

18     Location under the business name Duchess, using the exact same menu, employees, Instagram account,

19     as used with Birdies. In fact, the Duchess employees were telling customers that Duchess was actually

20     the same restaurant under a different name. Bubman Decl., ¶7.

21                B. Factual Background Regarding these Proceedings.

22                This case was commenced by the filing of a Voluntary Petition by the Debtor under Chapter 7

23     of the Bankruptcy Code on March 4, 2024 (the “Petition Date”) in the United States Bankruptcy Court

24     for the Central District of California, Los Angeles Division, which assigned Case No 2:24-bk-11660-

25     DS. Applicant was appointed as the Chapter 7 Trustee on or about that same date. Declaration of

26     Carolyn A. Dye (“Dye Decl.”), ¶ 3.

27                Through the Trustee’s review of the Debtor’s Petition and Schedules, examination of the Debtor

28     at his initial and continued 341(a) Meeting of Creditors in the instant case, as well as a review of certain

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 1     documentation furnished by interested parties in this case, the Trustee became aware of the Debtor’s

 2     history of noncompliance with Court orders, as well as his apparent penchant for hiding assets and

 3     withholding information from the Court. Dye Decl., ¶4.

 4                For example, on April 2, 2024, while conducting Debtor’s 341(a) examination, Applicant

 5     inquired of Debtor as to Debtor having been found guilty of six counts of contempt of court for his

 6     noncooperation with the Receiver in Bobson v. Bae, in which he was sentenced to fifteen days in jail

 7     and a $5,500 fine on March 1, 2024—a mere three days before the Petition Date. In response, Debtor

 8     purported to “not remember” if he had been held in contempt. Dye Decl., ¶5.

 9                The Debtor also testified to the repeated and recurrent withdrawal of money from an account

10     for a company that he purports to own 100% (DTLA South Park Corp) only to deposit those monies

11     into an account purportedly owned by his father (Bae FG Corp) which is not identified on his schedules.

12                The information provided by the Debtor on his schedules and to which he testified at the 341(a)

13     meeting further contradicted the court records relating to the State Court Action, particularly pertaining

14     to the history of the restaurant Birdies, and the successor restaurant in which he claims to have no

15     interest, Duchess. Mr. Bae’s testimony raises significant issues which cause great concern of the

16     Trustee as to their veracity. Dye Decl., ¶6.

17                C. Necessity of Special Counsel.

18                “The trustee, with the Court’s approval, may employ one or more attorneys . . . that do not hold

19     or represent an interest adverse to the estate, and that are disinterested persons, to represent or assist

20     the trustee in carrying out the trustee’s duties under the title. 11 U.S.C. §327(a). “Special counsel is

21     appropriate when an attorney is employed to handle a specific legal action that is unrelated to the

22     reorganization and the attorney is particularly suited for that action. In re Goldstein (383) B.R. 496,

23     501 (Bankr. C.D. Cal. 2007).

24                Based upon the foregoing facts, the Trustee seeks to retain special counsel to further investigate

25     the facts pertaining to pre and post-petition transfers of the Debtor and the various alter ego entities he

26     created for purposes of obfuscating and carrying out what appears to be a scheme to deprive the estate

27     of assets, as well as all such other matters that have arisen in the course of these activities.

28                D. Proposed Employment of MBN.

                                                       4
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 1                The Trustee desires to employee MBN as Special Litigation Counsel pursuant to 11 U.S.C. §§

 2     327(a) and 328(a) to pursue claims against Debtor and his associates in Case No. 2:24-bk-11660-DS.

 3                E. MBN’s Qualifications.

 4                MBN has familiarity with the already pending litigation in the State Court Action, as MBN has

 5     represented the State Court Receiver in that matter. MBN’s familiarity with Debtor, as well as Debtor’s

 6     tactics and methods of obfuscation from the Courts, cause Applicant to believe that retention of MBN

 7     on an hourly basis, as proposed in this Application, is in the best interests of this Estate. MBN’s firm

 8     resume is attached to the Declaration of Michael E. Bubman as Exhibit “A” and incorporated herein by

 9     this reference.

10                F. Terms of MBN’s Employment.

11                1.     MBN has agreed to represent the Trustee on an hourly basis with respect to the Trustee’s

12     prosecution of an avoidance action in the bankruptcy court through the filing of an adversary

13     proceeding. As such, MBN will be required to draft the complaint, engage in discovery as may be

14     required and/or any litigation that will occur in the adversary proceeding, make court appearances and

15     any other action required in the litigation of the adversary proceeding.

16                2.     In addition to the hourly fee for services, the trustee will pay and reimburse MBN for

17     its actual and necessary out-of-pocket costs and expenses incurred in connection with its employment

18     as special litigation counsel in this case.

19                3.     The payment of its hourly fees with respect to the Adversary Proceeding and the

20     reimbursement of any costs, shall be subject to the terms herein and the approval of the Bankruptcy

21     Court after the filing by MBN of an appropriate application in compliance with the Bankruptcy Code

22     and Local Bankruptcy Rules. MBN will seek compensation and reimbursement of expenses pursuant

23     to the provisions of 11 U.S.C. §327(a) and 330 of the Bankruptcy Code.

24                4.     In the event of MBN’s discharge or withdrawal, MBN shall be entitled to payment from

25     the estate for reasonable fees for the legal services provided, such fees being determined by considering

26     the following: the number of hours expended by MBN, MBN’s hourly rates, the extent to which MBN’s

27     services contributed to the results obtained, the amount of the fee in proportion to the value of the

28     services provided, and the amount of the recovery obtained.

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 1                5.        In the event the bankruptcy case is dismissed prior to entry of a judgment, MBN shall

 2     then be entitled to, and provided the opportunity to apply for, prior to such dismissal, allowance and

 3     payment of an administrative claim for all of its fees incurred, based on its usual hourly rates, plus its

 4     costs, including hourly fees incurred to date.

 5                6.        As shown in the biographical information attached as Exhibit 1 hereto and incorporated

 6     herein by this reference, MBN and its professionals are very experienced in insolvency, bankruptcy

 7     and reorganization matters, and are well-qualified to represent the Trustee. Additionally, given the

 8     fact that MBN has represented the Receiver in the State Court Action, the employment of MBN is

 9     particularly beneficial to the estate and will not needlessly increase the administrative burden on the

10     estate. A copy of the schedule of MBN’s current billing rates for attorneys and paralegals and other

11     para-professionals is attached hereto as Exhibit 2 and incorporated herein by this reference.

12                7.        MBN has not been paid a money retainer with regard to its representation of the Trustee

13     and the Estate.

14                8.        MBN understands and agrees to accept employment on the grounds that its fees may be

15     awarded only by application to, and approval by, this Court after notice and a hearing. MBN seeks

16     employment pursuant to 11 U.S.C. §330. MBN is familiar with the Bankruptcy Code, the Federal

17     Rules of Bankruptcy Procedure, the Local Bankruptcy Rules of the Central District of California and

18     the Guidelines of the United States Trustee.

19                9.        MBN discloses that it has previously represented the Trustee in other unrelated chapter

20     7 bankruptcy matters before the United States Bankruptcy Court or other insolvency matters. MBN

21     further discloses that it has represented the State Court Appointed Receiver in the State Court Action,

22     and will continue to do so throughout the instant bankruptcy matter.

23                10.       MBN represents it is disinterested within the meaning of the Bankruptcy Code, and

24     represents as follows:

25                         MBN has no connection with the Debtor (other than representing the Receiver in the

26                State Court Action), insiders, creditors, the Trustee, any other party or parties herein, their

27                respective attorneys and accountants, or any person employed in the Office of the United States

28                Trustee;

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 1                                     DECLARATION OF MICHAEL E. BUBMAN

 2
                  I, MICHAEL E. BUBMAN, declare as follows:
 3
                  1.      I have personal knowledge of the following facts and if called upon as a witness to
 4
       testify thereto, I could and would competently do so.
 5
                  2.      I am a member of the law firm of Mirman, Bubman & Nahmias (“MBN”), the firm
 6
       which the Chapter 7 Trustee desires to employ for the purpose of, among other things:
 7
                          a.      To aid the Trustee in the investigation of assets and/or claims may exist in
 8
                  favor of the Debtor’s Bankruptcy Estate and/or may, in turn, be recoverable and/or sold for
 9
                  the benefit of the Bankruptcy Estate and its creditors;
10
                          b.      In consultation with the Trustee, to determine whether to seek to deny or
11
                  revoke the Debtor’s discharge, and if it is determined that the Debtor’s discharge should be
12
                  denied or revoked, to prepare and prosecute the appropriate Adversary Complaint against
13
                  Debtor;To take such other and further actions as may be necessary to conclude any pending
14
                  litigation and/or to recover those assets and/or prosecute those claims which may be found to
15
                  exist for the benefit of this Estate and its creditors;
16
                          c.      To take such other actions as the Trustee may deem necessary and appropriate
17
                  to protect and advance the best interests of this Estate and its creditors.
18
                  3.      State Court litigation entitled Bobson v. Bae, Los Angeles Superior Court Case No.
19
       BC650612 (the “State Court Action”), was filed in or about February 2017. The State Court Action
20
       was filed by the Debtor’s and his then business partner, Jason Bobson, pertaining to the dissolution of
21
       their partnership over the operations of the restaurant known as Birdies. After the trial of the matter in
22
       November 2021, and as a part of the dissolution, the parties were ordered by the court to provide
23
       information pertaining to the operations and finances of Birdies. Notwithstanding numerous court
24
       orders instructing the parties to provide information to a mutually acceptable accountant, Debtor Bae
25
       refused to cooperate in the court-ordered process. After several unsuccessful attempts at obtaining the
26
       Debtor’s cooperation, on August 17, 2022, the Los Angeles Superior Court judge appointed Receiver
27
       Stephen J. Donell (“Receiver”) (the “Appointing Order”) to take control of the assets of the JK
28

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 1     Partnership (“Partnership”). As a part of the Appointing Order, the Receiver was ordered to take

 2     possession of, manage and collect all proceeds from the operation of the restaurant named “Birdies,”

 3     located at 314 W. Olympic Blvd. Los Angeles, CA 91401.

 4                4.     Since that time, the Debtor has continued in his refusal to cooperate with the Court

 5     regarding the assets and operations of Birdies. In fact, in January 2024, the Debtor was held in contempt

 6     as a result of his refusal to cooperate.

 7                5.     In proceedings before the Superior Court, Judge Upinder Kalra has noted the lack of

 8     compliance. On March 1, 2024, Judge Kalra stated:

 9                “The conduct by your client [the Debtor] is outrageous, continued to be outrageous. The

10                allegations are supported by evidence. . . . I’m not blind to what’s going on. Your client, for

11                years, has refused to comply with Court orders – willfully refused. The Court conducted a

12                contempt hearing and made such findings . . . and Mr. Bae’s behavior is inexcusable. It’s even

13                worse than was presented to me at the contempt hearing.”

14     March 1, 2024 transcript, pages 6, line 10 – page 7, line 8.

15                6.     On February 23, 2024, the Receiver terminated the business operations of Birdies at the

16     314 W. Olympic location (“314 Location”), as a result of the fact that the revenues appeared insufficient

17     to support the ongoing operations. The Receiver subsequently learned that the Debtor was not reporting

18     cash and catering transactions that were being conducted at or from the 314 Location. By shutting

19     down the 314 Location, the Receiver was interfering with the Debtor’s ability to continue running “off

20     the books” transactions at the 314 Location. The Debtor had control of the business space immediately

21     next to the 314 Location, at 312 W. Olympic Blvd. (the “312 Location”), as that space was held under

22     a lease from the landlord to the Debtor’s father, James Bae. The Debtor immediately began preparing

23     the 312 Location to open for business, so he could continue those operations.

24                7.     The Debtor was scheduled for sentencing for his contempt conviction on March 1, 2024.

25     At the time of the March 1, 2024 hearing, the Debtor was simultaneously replicating Birdies in the 312

26     Location under the business name Duchess, using the exact same menu, employees, Instagram account,

27     as used with Birdies. In fact, the Duchess employees were telling customers that Duchess was actually

28     the same restaurant under a different name.

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 1                8.    Attached hereto as Exhibit “A” and made a part hereof is Bankruptcy Form F2014-1 –

 2     “Statement of Disinterestedness for Employment of Professional Person Under F.R.B.P. 2014”.

 3                9.    Attached hereto as Exhibit “B” and incorporated herein by this reference is a true and

 4     correct copy of the Notice of Motion to Employ Mirman, Bubman & Nahmias, LLP as Special

 5     Counsel to the Chapter 7 Trustee served on the interested parties on June ___, 2024.

 6                10.   I have read the foregoing Motion of the Chapter 7 Trustee seeking authority to employ

 7     Special Counsel and believe each of the statements set forth therein to be true and correct.

 8                11.   MBN is not associated or affiliated with the Debtor, Trustee, Debtor’s creditors, or any

 9     other party in interest in this case or their respective attorneys or accountants, except as follows:

10                      As disclosed above in the Trustee’s Application, MBN has previously represented the

11     Trustee in her capacity as Trustee for one or more Chapter 7 Bankruptcy Estates, which cases are

12     completely unrelated to the instant case.

13
                  12.   Neither MBN nor any of the attorneys comprising or employed by it has any interest
14
       adverse to the Estate, and all are disinterested persons as defined in Section 101(14) of the
15
       Bankruptcy Code. MBN and any of the attorneys comprising or employed by it are not and were not
16
       creditors, equity security holders, or insiders of the Debtor.
17
                  13.   Neither MBN nor any of the attorneys comprising or employed by it has a pre-Petition
18
       claim against the Estate. MBN has represented the Receiver in the state court action.
19
                  14.   Neither MBN nor any of the attorneys comprising or employed by it has or had any
20
       connection with any insider of the Debtor or any insider or an insider of the Debtor, except as set
21
       forth above.
22
                  15.   The resume of MBN is attached hereto as Exhibit “C” and incorporated herein by this
23
       reference as though fully set forth.
24
                  16.   Neither MBN nor any of the attorneys comprising or employed by it was an
25
       investment banker for any outstanding security of the Debtor.
26
                  17.   Neither MBN nor any of the attorneys comprising or employed by it is or was, within
27
       three (3) years before the date of the filing of the Petition herein, an investment banker for a security
28

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 1     of the Debtor or an attorney for such an investment banker in connection with the offer, sale, or

 2     issuance of any security of the Debtor.

 3                18.   Neither MBN nor any of the attorneys comprising or employed by it is or was, within

 4     two (2) years before the date of the filing of the Petition herein, a director, officer, or employee of the

 5     Debtor or any investment banker of any security of the Debtor.

 6                19.   Neither MBN nor any of the attorneys comprising or employed by it has any interest

 7     materially adverse to the interest of the Estate or of any class of creditors or equity security holders

 8     by reason of any direct or indirect relationship to, connection with, or interest in the Debtor or an

 9     investment banker for any security of the Debtor.

10                20.   The terms and source of the proposed compensation and reimbursement of MBN will

11     be the normal hourly billing rates of MBN as set forth as a part of Exhibit “D” hereto and

12     incorporated herein by this reference, and upon approval by this Court.

13                21.   In the event there are any oral or written modifications to the terms or conditions of

14     MBN’s employment, said modifications will be disclosed to the Court and the United States Trustee

15     by subsequent declaration.

16     The name, address, and telephone number of the person signing this Declaration on behalf of MBN

17     is: Michael E. Bubman, Esq., Mirman, Bubman & Nahmias, 16133 Ventura Blvd., Suite 1175,

18     Encino, California 91436, telephone number (818) 451-4600, facsimile number (818) 451-4620. I

19     understand that compensation in this case shall be paid only upon application to and approval by this

20     Court and after notice and a hearing pursuant to the Bankruptcy Code, Bankruptcy Rules, and Local

21     Bankruptcy Rules.

22         I declare under penalty of perjury under the laws of the United States that the foregoing is true

23     and correct. Executed on June ___, 2024 at Encino, California.

24
                                                      __________________________________________
25
                                                      Michael E. Bubman
26

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                                   DECLARATION OF CAROLYN A. DYE
 1

 2                I, Carolyn A. Dye, hereby declare as follows:

 3                 1. I have personal knowledge of the following facts and if called upon as a witness to testify

 4     thereto, I could and would competently do so.

 5                2.     I am a member of the law Offices of Carolyn A. Dye, and am the duly appointed

 6     Chapter 7 Trustee in the Chapter 7 Bankruptcy Case filed by debtor, Keith Winki Bae.

 7                3.     This case was commenced by the filing of a Voluntary Petition by the Debtor under

 8     Chapter 7 of the Bankruptcy Code on March 4, 2024 (the “Petition Date”) in the United States

 9     Bankruptcy Court for the Central District of California, Los Angeles Division, which assigned Case

10     No 2:24-bk-11660-DS. I was appointed as the Chapter 7 Trustee on or about that same date.

11                4.     Through my review of the Debtor’s Petition and Schedules, examination of the Debtor

12     at his initial and continued 341(a) Meeting of Creditors in the instant case, as well as a review of

13     certain documentation furnished by interested parties in this case, I have become aware of the

14     Debtor’s history of noncompliance with Court orders, as well as his apparent penchant for hiding

15     assets and withholding information from the Court.

16                5.     For example, on April 2, 2024, while conducting Debtor’s 341(a) examination, I

17     inquired of Debtor as to Debtor having been found guilty of six counts of contempt of court for his

18     noncooperation with the Receiver in Bobson v. Bae, in which he was sentenced to fifteen days in jail

19     and a $5,500 fine on March 1, 2024—a mere three days before the Petition Date. In response, Debtor

20     purported to “not remember” if he had been held in contempt.

21                6.     The Debtor also testified to the repeated and recurrent withdrawal of money from an

22     account for a company that he purports to own 100% (DTLA South Park Corp) only to deposit those

23     monies into an account purportedly owned by his father (Bae FG Corp) which is not identified on his

24     schedules.

25                7.     The information provided by the Debtor on his schedules and to which he testified at

26     the 341(a) meeting further contradicted the court records relating to the State Court Action,

27     particularly pertaining to the history of the restaurant Birdies, and the successor restaurant in which

28

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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
 Email Address

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 Sherman Oaks, CA 91403
 Telephone: 818/287-7003
 Facsimile: 323/987-5763
 Email: trustee@cadye.com




 Attorney for: Carolyn A. Dye, Chapter 7 Trustee

                                        UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION DIVISION

 In re:                                                                       CASE NO.: 2:24-bk-11660-ds
                                                                              CHAPTER: 7
          KEITH WONKI BAE,


                                                                                   STATEMENT OF DISINTERESTEDNESS
                                                                                   FOR EMPLOYMENT OF PROFESSIONAL
                                                                                        PERSON UNDER FRBP 2014
                                                                                    (File with Application for Employment)


                                                                                                       [No Hearing Required]
                                                               Debtor(s).



1. Name, address and telephone number of the professional (Professional) submitting this Statement:
     Michael E. Bubman
     16133 Ventura Blvd., Suite 1175
     Encino, CA 91436
     Telephone: 818/451-4600

2. The services to be rendered by the Professional in this case are (specify):
    Bubman will investigate and as appropiate as litigate fraudulent transfer the Debtor's assets, including without
    limitation, interests in a restaurant and its assets.




             This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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3. The terms and source of the proposed compensation and reimbursement of the Professional are (specify):

    Bubman will advance out-of-pocket costs required. Trustee proposes that Bubman will be employed on an hourly
    basis. The estate has no funds on hand and the fees will be paid from any recovery received from the litigation.
    recovery including any attorneys fees awarded. After payment of the attorney’s fees and cost reimbursement, the
    balance of any recovery will be paid to the estate.

4. The nature and terms of retainer (i.e., nonrefundable versus an advance against fees) held by the Professional are
   (specify):

     N/A




5. The investigation of disinterestedness made by the Professional prior to submitting this Statement consisted of
   (specify):
    Review of the creditors listed in debtor's petition and of Trustee, as well as examination of previous client files lists.




6. The following is a complete description of all of the Professional’s connections with the Debtor, principals of the
   Debtor, insiders, the Debtor’s creditors, any other party or parties in interest, and their respective attorneys and
   accountants, or any person employed in the office of the United States trustee (specify, attaching extra pages as
   necessary):

    MBN has represented the receiver in the related proceedings arising out of the Bobson state court litigation as
    disclosed in the Application to Employ MBN.


7. The Professional is not a creditor, an equity security holder or an insider of the Debtor, except as follows (specify,
   attaching extra pages as necessary):

     N/A



8. The Professional is not and was not an investment banker for any outstanding security of the Debtor.

9. The Professional has not been within 3 years before the date of the filing of the petition herein, an investment banker
   for a security of the Debtor, or an attorney for such an investment banker in connection with the offer, sale or issuance
   of any security of the Debtor.

10. The Professional is not and was not, within 2 years before the date of the filing of the petition herein, a director, officer
    or employee of the Debtor or of any investment banker for any security of the Debtor.

11. The Professional neither holds nor represents any interest materially adverse to the interest of the estate or of any
    class of creditors or equity security holders, by reason of any direct or indirect relationship to, connection with, or
    interest in, the Debtor or an investment banker for any security of the Debtor, or for any other reason, except as
    follows (specify, attaching extra pages as necessary):
    N/A




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12. Name, address and telephone number of the person signing this Statement on behalf of the Professional and the
    relationship of such person to the Professional (specify):

    Michael E. Bubman (See No. 1 for Address / Telephone.)




13. The Professional is not a relative or employee of the United States trustee or a bankruptcy judge, except as follows
    (specify, attaching extra pages as necessary):

   N/A




14. Total number of attached pages of supporting documentation: 0

15. After conducting or supervising the investigation described in paragraph 5 above, I declare under penalty of perjury
    under the laws of the United States, that the foregoing is true and correct except that I declare that Paragraphs 6
    through 11 are stated on information and belief.


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 06/20/2024         Michael E. Bubman
 Date               Printed Name                                                       Signature




          This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                EXHIBIT B
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  1   CAROLYN A. DYE (SBN 97527)
      3435 Wilshire Blvd.
  2   Suite 990
      Los Angeles, CA 90010
  3   Telephone: 213/368-5000
      Facsimile: 213/368-5009
  4   Email: trustee@cadye.com

  5   Chapter 7 Trustee

  6

  7

  8                       UNITED STATES BANKRUPTCY COURT

  9                        CENTRAL DISTRICT OF CALIFORNIA

10                               LOS ANGELES DIVISION

11

12    In re                                ) Case No. 2:24-bk-11660-DS
                                           )        [Chapter 7]
13    KEITH WONKI BAE,                     )
                                           ) NOTICE OF TRUSTEE’S APPLICATION
14                              Debtor.    ) TO EMPLOY SPECIAL LITIGATION
                                           ) COUNSEL
15                                         )
                                           ) [No Hearing Unless Requested;
16                                         ) Local Bankruptcy Rule 2014-1]

17

18    TO THE HONORABLE DEBORAH J. SALTZMAN, UNITED STATES BANKRUPTCY

19    JUDGE, THE UNITED STATES TRUSTEE, DEBTOR, ALL CREDITORS AND OTHER

20    INTERESTED PARTIES:

21            PLEASE TAKE NOTICE that Carolyn A. Dye, the duly appointed,

22    qualified and acting Chapter 7 Trustee (“Trustee”) of the above-

23    captioned estate, has filed an Application to Employ Special

24    Litigation Counsel.

25            Trustee has obtained evidence that the Debtor omitted

26    material information from his bankruptcy. Debtor has a State

27    Court litigation entitled Bobson v. Bae, Los Angeles Superior

28    Court Case No. BC650612 (the “State Court Action”), was filed in
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  1   or about February 2017. The State Court Action was filed by the

  2   Debtor’s and his then business partner, Jason Bobson, pertaining

  3   to the dissolution of their partnership over the operations of

  4   the restaurant known as Birdies. After the trial of the matter in

  5   November 2021, and as a part of the dissolution, the parties were

  6   ordered by the court to provide information pertaining to the

  7   operations and finances of Birdies. Notwithstanding numerous

  8   court orders instructing the parties to provide information to a

  9   mutually acceptable accountant, Debtor Bae refused to cooperate

10    in the court-ordered process. After several unsuccessful attempts

11    at obtaining the Debtor’s cooperation, on August 17, 2022, the

12    Los Angeles Superior Court judge appointed Receiver Stephen J.

13    Donell to take control of the assets of the JK Partnership. As a

14    part of the Appointing Order, the Receiver was ordered to take

15    possession of, manage and collect all proceeds from the operation

16    of the restaurant named “Birdies,” located at 314 W. Olympic

17    Blvd. Los Angeles, CA 91401.

18         Trustee has selected Michael E. Bubmam, of the firm Mirman,

19    Bubman & Nahmias because he has experience in the state court

20    litigation to pursue claims in the bankruptcy case against Debtor

21    relating to these actions including without limitation fradulent

22    transfer claims.

23         Bubman will advance out-of-pocket costs required to

24    prosecute the investigation and any subject litigation. Trustee

25    proposes that Woo will be employed pursuant to U.S.C. § 327(a)

26    and compensated pursuant to 11 U.S.C. § 330 on a contingency fee

27    basis, after reimbursement of costs, and a contingency fee of the

28    greater of 30% of the recovery, or, if attorneys fees are

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  1   awarded, 40% of the recovery including the attorneys fees

  2   awarded. After payment of the attorney’s fees and cost

  3   reimbursement, the balance of any recovery will be paid to the

  4   estate.

  5         You may request a complete copy of the Application from the

  6   Trustee at the address in the upper left hand corner of the first

  7   page of this Notice.      A complete copy of the Application is also

  8   on file with the Clerk of the Court and may be viewed at the

  9   United States Bankruptcy Court, 255 East Temple Street, Room 100,

10    Los Angeles, California 90012.

11          PLEASE TAKE FURTHER NOTICE that Local Bankruptcy Rule

12    (“LBR”) 2014-1(b)(3)(E) requires that anyone wishing to respond

13    or object to the Application must, not later than fourteen (14)

14    days from the date of service of this Notice, plus an additional

15    three (3) days unless the notice of the application was served by

16    personal delivery or posting as described in F.R.Civ.P

17    5(b)(2)(A)-(B), file with the United States Bankruptcy Court (255

18    East Temple Street, Room 100, Los Angeles, CA 90012) and serve

19    upon: (i) Trustee at the address in the upper left hand corner of

20    the first page of this Notice; (ii) Mirman, Bubman & Nahmias,

21    Attn: Michael E. Bubman, 16133 Ventura Blvd., Suite 1175, Encino,

22    CA, 91436; and (iii) the Office of the United States Trustee,

23    Attn: Kelly Morrison, Esq., 915 Wilshire Blvd., Suite 1850, Los

24    Angeles, CA 90017, a request for a hearing and a written response

25    in the form required by LBR 9013-1(f)(1).          A hearing will then be

26    set and noticed.

27    ///

28    ///

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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 15030
Ventura Boulevard, Suite 527, Sherman Oaks, CA 91403.

A true and correct copy of the foregoing document entitled Notice of Application by Chapter 7 Trustee to Employ Mirman,
Bubman & Nahmias as Special Counsel will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner indicated below:

1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On June 26, 2024,
I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are
on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

        Eric Bensamochan                                   eric@eblawfirm.us, G63723@notify.cincompass.com
        Michael E Bubman                                   mbubman@mbn.law, aacosta@mbnlawyers.com
        Carolyn A Dye (TR)                                 trustee@cadye.com, c197@ecfcbis.com;atty@cadye.com
        Gregory S Kim                                      gkim@gregorykimlaw.com, gkimlaw@yahoo.com
        Noreen A Madoyan                                   Noreen.Madoyan@usdoj.gov
        United States Trustee (LA)                         ustpregion16.la.ecf@usdoj.gov

                                                                                 G         Service information continued on attached page

2.      SERVED BY UNITED STATES MAIL: On June 26, 2024, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes
a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                 O         Service information continued on attached page

3.      SERVED BY PERSONAL DELIVERY - N/A: Pursuant to Fed.R.Civ.P. 5 and/or controlling LBR, on ________, 2024,
I arranged for service on the following person as follows. Listing the judge here constitutes a declaration that personal delivery
on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

                                                                                 G         Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.


Dated: June 26,2024                                                             /s/ Karissa De La Trinidad
                                                                                Karissa De La Trinidad




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                          F 9013-3.1. PROOF OF SERVICE
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Label Matrix for local noticing         Los Angeles
                                        Main        Division
                                               Document      Page 24 of 34 California Department of
0973-2                                  255 East Temple Street,               Tax and Fee Administration
Case 2:24-bk-11660-DS                   Los Angeles, CA 90012-3332            Riverside Office
Central District of California                                                PO BOIX 942879
Los Angeles                                                                   Sacramento, CA 9429-0001
Wed Jun 26 10:52:41 PDT 2024
Capital One                             (p)JPMORGAN CHASE BANK N A            (p)DESIGNED RECEIVABLE SOLUTIONS INC
Attn: Bankruptcy                        BANKRUPTCY MAIL INTAKE TEAM           10833 VALLEY VIEW ST
Po Box 30285                            700 KANSAS LANE FLOOR 01              415
Salt Lake City, UT 84130-0285           MONROE LA 71203-4774                  CYPRESS CA 90630-5046


Eric Bensamochan, Esq. SBN              Fed Receiver, Inc                     Franchise Tax Board
The Bensamochan Law Firm, Inc           c/o Stephen J. Donell, Receiver       PO BOX 419001
9025 Wilshire Blvd, Suite 215           12121 Wilshire Blvd, Ste 1120         Rancho Cordova, CA 95741-9001
Beverly Hills, CA 90211-1825            Los Angeles, Ca 90025-1164


Gregory6 S Kim                          (p)INTERNAL REVENUE SERVICE           James Bae
Law Office of Gregory S Kim             CENTRALIZED INSOLVENCY OPERATIONS     327 S. Hoover St, Unit 316
3435 WIlshire Blvd., Suite 1985         PO BOX 7346                           Los Angeles, Ca 90020-1112
Los Angeles, CA 90010-1914              PHILADELPHIA PA 19101-7346


Jason Harley Bobson                     Joshuea Kluewer                       Keith Wonki Bae
13600 Sylvan St.,                       Kluewe Law P.C.                       419 N Larchmont Blvd. 298
Van Nuys, CA 91401-2422                 811 Wilshire Blvd. SUite 1751         Los Angeles, CA 90004-3013
                                        Los Angeles, CA 90017-2606


Ki Yeon Cho                             Kramar Madnick, LLP                   Mary Sutherland and
dba Mustard Seed Cafe                   H Mark Madnick, Esq                   Andrew Alvis
Kenneth T. Haan, Esq                    Kramar Madnick, LLP                   Kluewer Law P.C.
Kenneth T. Haan & Associates, APLC      16133 Ventura Blvd, Suite 805         811 Wilshinre Blvd. Suite 1571
3699 Wilshire Blvd, Suite 860           Encino, CA 91436-2409                 Los Angeles, CA 90017-2606
Los Angeles, CA 90010-2727
Mersedeh Nasseri                        Michael E. Budman, Esq.               Midland Credit Mgmt
Neil C Newson & Associates              c/o Jason Harley Bobson               Attn: Bankruptcy
9100 Wilshire Blvd. Suite 220 West      16133 Ventura Blvd. Suite 1175        Po Box 939069
Beverly Hills, CA 90212-3498            Encino, CA 91436-2416                 San Diego, CA 92193-9069


Neil C Newson, Esq.                     Sooyeon Jim                           Stephen J. Donell
Neil Newson & Associates                Law Office of Gregory S Kim           Mirman, Bubman, & Nahmias
9100 Wilshi8re Blvd, Suite 220 West     3435 Wilshire Blvd, Suite 1985        16133 Ventura Blvd., Suite 1175
Beverly Hills, CA 90212                 Los Angeles, CA 90010-1914            Encino, CA 91436-2416


Superior Court of California            (p)LOS ANGELES SUPERIOR COURT         United States Trustee
County of Los Angeles                   111 N HILL STREET                     Los Angeles Division
Chatsworth Courthouse                   LOS ANGELES CA 90012-3115             915 Wilshire Blvd., #1850
9425 Penfield Avenue                                                          Los Angeles, CA 90017-3560
Chatsworth, CA 91311-6516

United States Trustee (LA)              Carolyn A Dye (TR)                    Eric Bensamochan
915 Wilshire Blvd, Suite 1850           Law Offices of Carolyn Dye            The Bensamochan Law Firm, Inc.
Los Angeles, CA 90017-3560              15030 Ventura Blvd., Suite 527        9025 Wilshire Blvd. Suite 215
                                        Sherman Oaks, CA 91403-5470           Beverly Hills, CA 90211-1825
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                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Chase Card Services                                  DRSI                                                 Internal Revenue Service
Attn: Bankruptcy                                     Attn: Bankruptcy                                     Ogden, UT 84201-0025
P.O. 15298                                           10833 Valley View Street #415
Wilmington, DE 19850                                 Cypress, CA 90630


Superior Court of California
County of Los Angeles
Los Angeles Courthouse
111 North Hill Street
Los Angeles, CA 90012




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Interested Party                                  (d)Keith Wonki Bae                                   End of Label Matrix
                                                     419 N Larchmont Blvd 298                             Mailable recipients    29
                                                     Los Angeles, CA 90004-3013                           Bypassed recipients     2
                                                                                                          Total                  31
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                  MIRMAN, BUBMAN & NAHMIAS, L.L.P.
                            16133 VENTURA BOULEVARD, SUITE 1175
                                   ENCINO, CALIFORNIA 91436
                       TELEPHONE (818) 451-4600 ● Facsimile (818) 451-4620

The firm specializes in the practice of Insolvency Law and Creditors’ Rights, with a particular focus on
secured transactions, and enforcement of lender rights through provisional remedies, and representation in
insolvency situations.

Our clients include international and national financial institutions, independent community banks, small
business owners, entrepreneurs and investors, real estate developers and owners, retailers, manufacturers,
physicians, long term care facilities and the vendors who service them. Regardless of the client’s size, our
objective always remains the same: to provide incisive, reliable and strategic legal counsel every step of
the way. When appropriate, MB&N uses Alternative Dispute Resolution as a means to early resolution of
matters.


Insolvency
The Firm provides representation to all interests in a Chapter 11 case, as well as assisting
debtors, trustees, secured creditors and unsecured creditors with all facets of the case including
complex and unique Chapter 7 liquidation problems. The Firm also prosecutes numerous types
of claims through litigation in the Bankruptcy Court, including preference and fraudulent
transfers for Chapter 11 and Chapter 7 Trustees, as well as Official Committees of Unsecured
Creditors, both pre and post confirmation. The Firm has represented clients in the defense
against these actions for parties who have been sued, both inside and outside the Bankruptcy
Court.

In addition to bankruptcies, we assist clients with assignments for the benefit of creditors
(“ABCs”) and out-of-court workouts. We represent assignors, assignees, secured lenders and
purchasers of assets through these alternative processes to bankruptcy. The Firm representation
includes creditor committees, individual unsecured creditors, and classes of creditors asserting
similar claims, as well as secured lenders seeking to acquire possession of their collateral.


Creditor’s Rights
The Firm’s representation includes financial institutions, lenders and businesses in securing and
perfecting rights in collateral, negotiating resolution of inter-creditor disputes, and seeking
recovery on loans, leases, or other obligations. The Firm specializes in pre and post-judgment
remedies, including receiverships, writs and other remedies. Alan Mirman is a founding Board
member of the California Receivers Forum. He frequently lectures on receiverships and related
remedies, and he often applies his experience to creditors’ rights cases we handle for clients.
Michael Bubman has been called upon to provide guidance to health care regulators on
receivership issues and regularly represents receivers in health care settings, including long-term
care facilities, senior housing arrangements and a variety of other health delivery systems.

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Loan Documentation
We represent developers, businesses and individuals, regardless of their primary industry focus,
in real estate litigation and transactions. Our clients with real estate holdings frequently need
advice as to documentation and strategic considerations necessary to complete a real estate
transaction. In some instances, our clients will need to establish their rights with respect to real
estate interests held jointly with others. Yet other circumstances will require taking the steps
necessary to untangle complex relationships in real estate holdings and reach conclusions
appropriate to the situation. In each of those instances, we call upon the appropriate attorneys of
the firm to meet any client objective, whether documenting a loan transaction, opening or
completing an escrow, obtaining a lis pendens to protect an interest, or representation relating to
insolvency proceedings.

FIRM ATTORNEYS:

MICHAEL E. BUBMAN:
  • Admissions: Admitted to bar 1989, California and U.S. District Courts Central, Northern,
    Eastern and Southern Districts of California.
  • Education: A 1988 graduate of Loyola Law School, he was a member of the member of
    the National Moot Court team; He conducted his undergraduate studies at the University
    of California, Berkeley, and the University of California, Los Angeles.
  • Memberships: A member of the Financial Lawyers Conference; California Bar
    Association; Los Angeles Bar Association; California Receiver’s Forum; American Health
    Lawyers Association.
  • Recognition: Super Lawyers (2017 - 2024).
  • Practice Areas: State and Federal court business and real property litigation in trial and
    appellate courts. Representation of creditors in bankruptcy matters including preference
    actions, fraudulent conveyance litigation and other insolvency-related litigation in Chapter
    7 and Chapter 11 cases of commercial debtors, creditors, trustees, and committees.
    Representation of creditors, debtors and receivers in state and federal court commercial
    litigation and real property litigation, including dispute resolution, provisional remedies
    (including attachment, claim and delivery, injunctive relief and receiverships) and post
    judgment remedies.


ALAN I. NAHMIAS:
  • Admissions: Admitted to bar December, 1986; California and U.S. District Courts,
     Central, Northern, Southern and Eastern Districts of California.
  • Education: University of Southern California (B.A. cum laude 1983); Loyola Law School
     (J.D. 1986).
  • Memberships: Los Angeles County, American, Beverly Hills and San Fernando Valley
     Bar Associations; State Bar of California; Financial Lawyers Conference; California
     Bankruptcy Forum; Board of Directors California Bankruptcy Forum (2008-2009)
     Commercial Law League of America; American Bankruptcy Institute. Federal Bankruptcy
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           Mediator. Lecturer - Commercial Law League of America. Member - Executive Council
           of Bankruptcy Section, Commercial Law League of America Bankruptcy and Insolvency
           Section (1996-2005). Chairman, Bankruptcy Section of Commercial Law League of
           America (2004-2005). Member Commercial Law League Board of Governors (2005-2006
           and 2008-2009). Recording Secretary of Commercial Law League of America (2007-
           2008).
    •      Recognition: Super Lawyers (2007 - 2024).
    •      Practice Areas: Bankruptcy and insolvency, creditors’ rights, receiverships and
           commercial litigation.



ALAN M. MIRMAN:
  • Admissions: Admitted to bar December 8, 1975; California and U.S. District Courts,
     Central, Northern, Southern and Eastern Districts of California.
  • Education: A 1975 graduate of the UCLA School of Law, where he was the Chief Justice
     of the Moot Court Honors Program.
  • Memberships: He is or has been a member of: Financial Lawyers Conference (1978-
     present); Debtor/Creditor and Bankruptcy Committee of the Business Law Section of the
     State Bar, with emphasis on analyzing and proposing changes in the law concerning pre-
     judgment remedies, mixed collateral, the one action rule, and fraudulent conveyances,
     (1983-1986,1987-1990); Executive Committee of the Los Angeles County Bar Association
     Provisional and Post Judgment Remedies Section (1987-2002); Chair of Executive
     Committee, (1992-1993); Editor of Section Newsletter (1987-1996); California
     Bankruptcy Forum (1992-present); Ad Hoc Committee on Receiverships, appointed by
     Presiding Judge of Los Angeles Superior Court. This Committee revised local rules
     relating to Receiverships, and consulted with the Court pertaining to procedures applicable
     to Receiverships (1993-1995); Board of Directors, California Receivers Forum, (1995-
     present): Chair of Los Angeles/Orange County Chapter, (2003-2004); Commercial Law
     Committee of the Los Angeles County Bar Association Commercial Law and Bankruptcy
     Section (2003-present).
  • Publications: He has served as the Co-editor and contributor to the Matthew Bender
     California Practice Guide, Provisional Remedies, with emphasis on Writs of Attachment.
  • Recognition: Super Lawyers (2007 - 2023).
  • Practice Areas: State and Federal court business and real property litigation in trial and
     appellate courts. Bankruptcy and insolvency law including representation in Chapter 7 and
     Chapter 11 cases of commercial debtors, creditors, trustees, and committees.
     Representation of creditors, debtors and receivers in state and federal court commercial
     litigation and real property litigation with primary emphasis on dispute resolution,
     provisional remedies (including attachment, claim and deliver, injunctive relief and
     receiverships) and post judgment remedies. Representation of lenders in negotiating and
     documenting loan transactions.


XOCHITL CORTEZ:
  • Admissions: California Bar- 2013-present; Business Law Section, California Bar-2013-
    present

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    •      Education: Pepperdine School of Law, Malibu, California, August 2010 to May 2013
           Juris Doctor, 2013
           Geoffrey H. Palmer Center for Entrepreneurship and the Law
           Malibu, California, August 2010 to May 2013
           Certificate, 2013
           University of Southern California, Los Angeles, California, August 2007 to May 2010
           Business Administration, Bachelor of Science
           Lloyd Greif Center for Entrepreneurial Studies, Los Angeles, California, August
           2007 to May 2010, Concentration in Entrepreneurship, 2010
    •      Other Experience: Business Turnaround - In 2010, Ms. Cortez conducted a turnaround
           on her family's business. The turnaround resulted in 68% revenue increase in 1 year and
           an article in the Los Angeles Business Journal
    •      Recognition: Super Lawyers, Rising Stars (2017-2024)
    •      Practice Areas: Business & Commercial Transactions -- Representation of business
           entities and individuals in transactional matters, including entity formation, fundraising
           documentation (business plans, pitch decks, and pro-forma financials), investor relations,
           business strategy, real estate leasing, master services agreements, website terms of use
           and privacy policies, and licensing agreements; Estate Planning Transaction --
           Representation of individuals and families in all aspects of estate planning, including
           wills, revocable and irrevocable trusts, irrevocable life insurance trusts, intentionally
           defective grantor trusts, powers of attorney, advance health care directives, and family
           limited liability companies.


MORGAN L. BUBMAN:
  • Admissions: California Bar- 2022-present;
    Litigation Section, California Bar-2022-present
  • Education: Loyola School of Law, Los Angeles, California, August 2019 to May 2022
    Juris Doctor, 2022
         o Teaching Assistant – Legal Writing;
         o Research Assistant – Legal Writing;
    University of California, Santa Barbara, Santa Barbara, California, August 2014 to
    May 2018, Bachelor of Arts in Feminist Studies, 2018 – Graduated with Honors
  • Practice Areas: State and Federal court business and real property litigation in trial and
    appellate courts. Representation of creditors in bankruptcy matters including preference
    actions, fraudulent conveyance litigation and other insolvency-related litigation in Chapter
    7 and Chapter 11 cases of commercial debtors, creditors, trustees, and committees.
    Representation of creditors, debtors and receivers in state and federal court commercial
    litigation and real property litigation, including dispute resolution, provisional remedies
    (including attachment, claim and delivery, injunctive relief and receiverships) and post
    judgment remedies.
  • Awards/Honors:
         o Loyola Law Review, Note and Comment Editor - 2021-2022
         o First Honors:
                ▪ Women and the Law;
                ▪ Trusts and Wills



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FIRM SPECIALIST:

SARAH R. BATES:
  • Forensic Analyst and Receivership Specialist
  • Education: University of Massachusetts at Amherst
    Bachelors Associate in Business Administration
    Licenses:
    Licensed Real Estate Salesperson – State of California – License No. 01760824
  • Practical Experience: Ms. Bates has been appointed as receiver in the Superior Court of
    California, County of Los Angeles, and she has assisted with the administration of
    hundreds of real estate and business related receivership cases in California, Arizona, and
    Nevada. She has extensive experience involving asset and business liquidations,
    residential, retail and commercial real estate. In addition, Ms. Bates has administered
    receivership cases involving post judgment enforcement actions, single family and
    condominium construction completion/entitlements, and other types of receivership
    appointments. Since 2005, Ms. Bates has also been actively involved in the administration
    of federal court receiverships in United States Securities and Exchange Commission and
    other government enforcement actions involving business fraud. These cases have
    involved over 25,000 investors and invested funds totaling more than $750 million. In
    2009, Ms. Bates designed and implemented a database system which she has used to
    administer investor/creditor claims in numerous government enforcement actions.
    Additional experience includes review and analysis of complex forensic accounting data,
    application of forensic data to claims review, and actions involving clawback litigation.
  • Affiliations:
    •       Apartment Association of Greater Inland Empire
    •       Arizona Multi-Family Housing Association
    •       Beverly Hills Greater Los Angeles Association of Realtors
    •       Building Owners and Managers Association
    •       California Apartment Association
    •       California Receivers Forum (CRF)
    •       CCIM Institute – Greater Los Angeles Chapter
    •       International Association of Restructuring, Insolvency & Bankruptcy
            Professionals
    •       Institute of Real Estate Management (IREM®)
    •       Los Angeles Apartment Owners Association
    •       National Association of Realtors®
    •       National Apartment Association (NAA)
    •       National Association of Federal Equity Receivers (NAFER)




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                                EXHIBIT D
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                   MIRMAN, BUBMAN & NAHMIAS, L.L.P.

                         Schedule of Hourly Rates 2024




           Michael E. Bubman          $650.00        Member
           Alan I. Nahmias            $650.00        Member
           Alan M. Mirman             $650.00        Member
           Xochitl Cortez             $650.00        Member
           Morgan Bubman              $375.00        Associate
           Sara Bates                 $365.00        Forensic Analyst
           Paralegals                 $175.00
           Accounting                 $50.00 - $100.00




                               Expense Rate Schedule

               Photocopying                       $ .20 / page
               Mileage                            $ .655 / mile
               Facsimile                          $ .25 / page
               Messenger                          as incurred
               Overnight mail                     as incurred
               Postage                            as incurred
               Parking                            as incurred
               Online Research                    as incurred




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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 15030
Ventura Boulevard, Suite 527, Sherman Oaks, CA 91403.

A true and correct copy of the foregoing document entitled Application by Chapter 7 Trustee to Employ Mirman, Bubman &
Nahmias as Special Counsel; Declaration of Michael E. Bubman in Support Thereof will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner indicated below:

1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On June 26, 2024,
I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are
on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

        Eric Bensamochan                                   eric@eblawfirm.us, G63723@notify.cincompass.com
        Michael E Bubman                                   mbubman@mbn.law, aacosta@mbnlawyers.com
        Carolyn A Dye (TR)                                 trustee@cadye.com, c197@ecfcbis.com;atty@cadye.com
        Gregory S Kim                                      gkim@gregorykimlaw.com, gkimlaw@yahoo.com
        Noreen A Madoyan                                   Noreen.Madoyan@usdoj.gov
        United States Trustee (LA)                         ustpregion16.la.ecf@usdoj.gov

                                                                                 G         Service information continued on attached page

2.      SERVED BY UNITED STATES MAIL: On June 26, 2024, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes
a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

        Keith Wonki Bae
        419 N Larchmont Blvd 298
        Los Angeles, CA 90004

                                                                                 G         Service information continued on attached page

3.      SERVED BY PERSONAL DELIVERY - N/A: Pursuant to Fed.R.Civ.P. 5 and/or controlling LBR, on ________, 2024,
I arranged for service on the following person as follows. Listing the judge here constitutes a declaration that personal delivery
on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

                                                                                 G         Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.


Dated: June 26,2024                                                             /s/ Karissa De La Trinidad
                                                                                Karissa De La Trinidad




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                          F 9013-3.1. PROOF OF SERVICE
